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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


  LOREN OWENS,                                      Case No. 1:25-CV-00321

         Plaintiff,                                 Hon. Jane M. Beckering

  v                                                 ORDER GRANTING
                                                    PLAINTIFF’S EX PARTE MOTION AS
  Port City Associates Group Corporation,           TO DEFENDANT DOES 1-10
  City2shore Real Estate Inc., Steve Frody,         FOR LEAVE TO SERVE A THIRD-
  Shelley Frody, Kellen Keck, Emmersyn              PARTY SUBPOENA
  Sheak, and John Does 1-10                         PRIOR TO A RULE 26(F)
         Defendants.                                CONFERENCE

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                  ORDER GRANTING PLAINTIFF’S EX PARTE MOTION
                          AS TO DEFENDANT DOES 1-10
                  FOR LEAVE TO SERVE A THIRD-PARTY SUBPOENA
                       PRIOR TO A RULE 26(F) CONFERENCE

        Having considered Plaintiff’s Ex Parte Motion as to Does 1-133 for Leave to Serve A

 Third-Party Subpoenas Prior to a Rule 26(F) Conference, after the briefing and review of the

 entire record herein, the Court grants Plaintiff’s motion. For the foregoing reason,

        IT IS HERBY ORDERED that:

        1. Plaintiff’s motion is granted.

        2. Plaintiff shall attach a copy of this Order to the subpoena it issues to InsideRE, LLC,

            operating under the legal name of BoldTrail (“BoldTrail”).
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      3. Plaintiff established “good cause” to serve one third-party subpoena on BoldTrail, to

         ascertain the following information:

             a.   names,

             b. physical addresses,

             c. mailing addresses,

             d. email addresses, and

             e. phone numbers

             f. IP Address of Lead Generation

             g. Any Cookie or digital tracking information of (browser type, location, ISP

                  provider, etc) that would enable Plaintiff to track John Doe(s).

         of Defendant Does 1 - 10 for the purpose of serving the summons and complaint in

         this case. The relevant phone calls to Plaintiff are listed in Exhibit 1 of Plaintiff's

         Complaint (PageID.45-47).

      4. Plaintiff may serve BoldTrail with the subpoena (Fed. R. Civ. P. 45) attached as

         Exhibit 1 to this Order, which includes the telephone numbers described at issue

      5. Nothing in this Order precludes BoldTrail or John Doe(s) from challenging the

         subpoena consistent with the Federal Rules of Civil Procedure and this Court’s local

         rules.

      6. BoldTrail shall confer, if necessary, with respect to the issues of payment for the

         requested information in the subpoena.

      7. If BoldTrail elects to charge for the cost of production, it shall provide a receipt for the

         amount paid and a summary of charges billed.




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       8. Plaintiff may only use the information disclosed in response to this Rule 45 subpoena

          to the BoldTrail for the purposes of protecting and enforcing Plaintiff's rights as set

          forth in her complaint.

       9. No other discovery is authorized by this Order.

                                                            SO ORDERED.



 Dated:____________________________                         _____________________________
                                                            HON. Jane M. Beckering
                                                            United States District Judge



 STIPULATED AS TO FORM

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